  Case 3:13-cr-00684-ZNQ           Document 9             Filed 07/10/13   Page 1 of 2 PageID: 28




                               LNITED S F \TES DISTRICT COL RT
                                  DISTRiCT OF NE JERSEY
                                                                                              &

L\ITED SI \TES OF \MERlC \                                   Mag o 13-4D2. çLHG)

          vs                                                 Hon Douglas A Arpert

MYKAL HALL                                          :        DETENTION ORDER


                This matter having been opened to the Court on motion of the United States, by

Paul J. Fishman, United States Attorney for the District of New Jersey (R. Joseph Gribko,

Assistant United States Attorney, appearing), and in the presence of Joshua Markowitz. Esq.,

attorney for defendant MYKAL HALL, for an order pursuant to 18 U.S.C. §sS 3 142(e) and 3143

(a), and Fed. R. Crim. P. 32.1(a)(6), detaining defendant; and

                The Court having found that the defendant poses both a danger and a risk of

flight;

                IT IS, therefore, on this 8th day of July, 2013,

                ORDERED, pursuant to Title 18, United States Code, Section 3142, that

defendant MYKAL HALL be committed to the custody of the Attorney General or his authorized

representative pending a trial; and it is further

                ORDERED, pursuant to Title 18, United States Code, Section 3142(i), that

defendant MYKAL HALL be confined in a corrections facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal; and it is

further




                                                    —1—
 Case 3:13-cr-00684-ZNQ          Document 9             Filed 07/10/13   Page 2 of 2 PageID: 29




                ORDERED, pursuant to Title 18, United States Code, Section 3142(i), that

defendant MYKAL HALL be afforded reasonable opportunity for private consultations with

counsel; and it is further

                ORDERED, pursuant to Title 18. United States Code, Section 3142(i), that, upon

order of this or an other court of the United States of competent jurisdiction or on request of an

attorney for the United States, defendant MYKAL HALL shall be delivered to a United States

Marshal for the purpose of appearances in connection with court proceedings; and it is further

               ORDERED that the motion of the United States for an order detaining defendant

MYKAL HALL without bail pending his trial is hereby granted, and defendant MYKAL HALL

is hereby ordered detained pending his trial in the above-entitled matter.




                                                    HON. DOU9tAS. ARPERT
                                                    United State)trate Judge




                                               -,   -
